Case 4:04-cv-00724-JHP-PJC Document 6 Filed in USDC ND/QK on 12/22/04 Page 1 of 32

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IN THE UNITED STATES DISTRICT COURT FOR THE
NORTHERN DISTRICT OF OKLAHOMA BP 7

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bn, & p

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ROCKLAND D. JOHNSON, Ci Lo, © 2p, )
Petitioner, sre are, Cy >
Cou Sth
Ar

Vv.

Case No. 04-CV-724-P(C) /

MARTY SIRMONS, Warden,
Respondent.

BRIEF IN SUPPORT OF MOTION TO DISMISS
FOR FAILING TO EXHAUST STATE REMEDIES

Comes Now the Attorney General of the State of Oklahoma, W.A. Drew Edmondson,
and pursuant to this Court's Order and in response to Petitioner's Petition for Writ of Habeas
Corpus files the following response and seeks to dismiss the instant petition as Petitioner has
failed to exhaust state remedies.

The Advisory Committee note to Rule 5 of the Rules Governing § 2254 cases in the
United States District Courts states:

An alleged failure to exhaust state remedies as to any
ground in the petition may be raised by a motion by the
attorney general thus avoiding the necessity of a formal
answer as to that ground.
Therefore, rather than a formal answer or response hereto and in light of the
authority set out herein, the Respondent hereby files a Motion to Dismiss

simultaneously with the filing of the Brief in Support of Motion to Dismiss for Failure

to Exhaust Necessary State Remedies.

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case 4:04-cv-00724-JHP-PJC Document 6 Filed in USDC NDIQK on 12/22/04 Page 2 of 32

ARGUMENTS AND AUTHORITIES
PETITIONER HAS FAILED TO
EXHAUST HIS STATE COURT
REMEDIES AND FEDERAL REVIEW
SHOULD BE DENIED.

Petitioner is challenging his conviction out of Tulsa County where he was found
guilty of two counts on first degree murder. The Petitioner filed a direct appeal to the
highest state court (See Exhibit 1). Petitioner admits that in the direct appeal he did not
raise the two issues which he raises in his present habeas petition. The Petitioner
admits and the record supports Petitioner’s claim that he has raised the two issues
presented in a petition for post-conviction relief, which was denied by the Tulsa County
District Court on October 20, 2004. (See Exhibit 2). Petitioner has appealed this post-
conviction denial with the Oklahoma Court of Criminal Appeals (“OCCA”), whose
decision is pending. It is the position of the Respondent that Petitioner has an effective
state court remedy available and since that effective state court remedy is pending, the
issues are not exhausted. 28 U.S.C. § 2254 (b)(3)(c).

The law is clear that as Petitioner is alleging ineffective assistance of appellate
counsel as his “cause”, he must exhaust that issue in the state court before coming to
federal court. Murray v. Carrier, 477 U.S. 478, 489, 106 S.Ct. 2639, 91 L.Ed.2d 397
(1986)(the ineffective assistance of appellate counsel claim must be presented to the
state courts as an independent claim before it may be used to establish cause for a
procedural default); Edwards v. Carpenter, 529 U.S. 446, 453, 120 S.Ct. 1587, 146
L.Ed.2d 518 (2000); Shaffer v. Boone, 3 Fed. Appx, 675, 2001 WL 23135 (10" Cir.
January 31,2001). (Exhibit 3). A federal habeas corpus request is not the appropriate
avenue when the Petitioner has not exhausted his state court remedies and has an
available state remedy. It is Petitioner's burden to prove exhaustion and he has failed

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Case 4:04-cv-00724-JHP-PIC Document 6 Filed in USDC ND/QK on 12/22/04 Page 3 of 32

to demonstrate the satisfaction of the exhaustion requirement. Miranda v. Cooper, 967
F.2d 392, 398 (10th Cir. 1992). Petitioner must give the state courts a fair presentation
of these issues in order for Petitioner to exhaust his state court remedies. Castilles v.
Peoples, 489 U.S. 346 (1989). The state courts must have had an opportunity to pass
on the claims in light of a full record and where the factual basis for a claim was not
presented to the state courts, the claim is unexhausted. Jones v. Hess, 681 F.2d 688
(10th Cir. 1982). It is not sufficient merely that the Petitioner’s case is pending, "rather
he must have given the state's highest court a 'fair opportunity’ to address his claims."
Picard v. Connor, 404 U.S. 270, 275-276 (1971).

In Hernandez v. Starbuck, 69 F.3d 1089, 1094 (10" Cir. 1995), the Petitioner

presented a challenge to counsel’s performance without exhausting state court
remedies. The Tenth Circuit held:

Because Mr. Hernandez failed to exhaust his ineffective
assistance claim, his petition for a writ of habeas corpus
contains at least one unexhausted claim. A federal court
presented with a habeas corpus petition containing both
exhausted and unexhausted claims should normally
dismiss the entire petition without prejudice. Rose v.
Lundy, 455 U.S. 509, 510, 102 S.Ct. 1198, 1199, 71
L.Ed.2d 379 (1982). The narrow circumstances in which
a federal court may consider the merits of a habeas petition
containing unexhausted claims are not present in this case.
See Granberry, 481 U.S. at 134-35, 107 S.Ct. at 1675-76;
Miranda, 967 F.2d at 400 ("it is appropriate ... to address
the merits of unexhausted ... habeas corpus claims if they
fail ... to raise even a colorable federal claim, and if the
interests of justice would be better served.").

The Tenth Circuit addressed the importance of the exhaustion doctrine in
Demarest _v. Price, 130 F.3d 922 (10" Cir. 1997). The Tenth Circuit in Demarest
required exhaustion despite the fact that the constitutional issue had been presented but

the evidence in support somewhat differed between that presented to the state court and

3
Case 4:04-cv-00724-JHP-BJC Document 6 Filed in USDC NDIQK on 12/22/04 Page 4 of 32

the federal court. The Tenth Circuit, quoting from Supreme Court precedent, reiterated
that “fair presentation” to the state court means that the substance of the claim must be
raised giving the state courts a fair opportunity to apply controlling legal principles to
the facts bearing upon his constitutional claim. Demarest, 130 F .3d at 932.
Petitioner’s two grounds for relief have been fairly presented to the state court
but a ruling on the issues presented is still pending. For this reason, the Petitioner’s

petition for writ of habeas corpus must be dismissed.

Respectfully submitted,

W.A. DREW EDMONDSON
ATTORNEY GENERAL OF

 

ASSISTANT ATTORNEY GENERAL
112 State Capitol Building

Oklahoma City, OK 73105

(405) 521-3921, FAX 521-6246
ATTORNEYS FOR RESPONDENT

CERTIFICATE OF MAILING

On this 20" day of December, 2004, a true and correct copy of the foregoing was
mailed to:

Rockland D. Johnson, #419056
R.B. Dick Conner Correctional Center

Box 220,
Hominy, OK 74035 — Y

J ULIAN S. SMITH
Case 4:04-cv-00724-JHP-PJC Document 6 Filed in USDC ND/QK on 12RI8@® Page 6 of
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oTATE OF OKLAHOMA

 

JUN 2 0 2003
IN THE COURT OF CRIMINAL APPEALS OF THE STAT#-QK OKLAHOMA
CLERK

ROCKLAND DEJARIO JOHNSON, )

Appellant, NOT FOR PUBLICATION
v. Case No. F-2002-685
THE STATE OF OKLAHOMA,

Appellee.

SUMMARY OPINION

LUMPKIN, JUDGE:

Appellant, Rockland Dejario Johnson, was tried by jury in the District
Court of Tulsa County, Case Number CF-2001-4067 and convicted of two
counts of First Degree Murder, in violation of 21 O.S.2001, § 701.7. The jury
set punishment at life imprisonment on each count. The trial judge sentenced
Appellant in accordance with the jury’s determination, ordering the sentences
to run consecutively. Appellant now appeals his convictions and sentences.

Appellant raises the following propositions of error in this appeal:

I. The accomplice testimony was not corroborated, and the trial

court’s failure to instruct the jury that a witness who testified
against Appellant was an accomplice whose testimony had to

be corroborated, deprived Appellant of a fair trial;

II. The trial court erred by allowing highly prejudicial
photographs to be admitted into evidence over objection; and

Ill. Appellant’s sentence is excessive and should be modified to
run concurrently, rather than consecutively.

After thoroughly considering these propositions and the entire record before us,

we find reversal or modification is not required.
EXHIBIT

} |]
Case 4:04-cv-00724-JHP-FIC Document 6 Filed in USDC NDIQK on 12/22/04 Page 6 of 32

With respect to proposition one, we find little, if any, evidence supporting
the claim that Erica Eat on was an accomplice, even as an aider and abettor.
Assuming, arguendo, this matter should have been submitted to the jury sua
sponte for determination, any possible error was harmless, as Eaton’s
testimony was sufficiently corroborated. Simpson v. State, 876 P.2d 690, 693
(Ok1.Cr.1994); Spears v. State, 900 P.2d 431, 440 (Ok1.Cr.1995); Carter v. State,
879 P.2d 1234, 1246 (OkL.Cr.1994); Bryson v. State, 876 P2d 240, 256
(Ok1.Cr.1994); Bowie v. State, 906 P.2d 759, 763 (OkI.Cr.1995); Omalza v. State,
911 P.2d 286, 301-02 (Ok1.Cr.1995). Furthermore, Appellant’s sufficiency of
the evidence claim fails. Spuehler v. State, 709 P.2d 202, 203-04 (Okl.Cr.1985).

With respect to proposition two, we find the trial court did not abuse its
discretion or err in admitting the photographs. Welch v. State, 2 P.3d 356, 371
(Ok1.Cr.2000); Phillips v. State, 989 P.2d 1017, 1032 (Okl.Cr.1999). With
respect to proposition three, we find it was not excessive to run the sentences
consecutively. Rea v. State, 34 P.3d 148, 149 (OklI.Cr.2001).

DECISION
The judgments and sentences are hereby AFFIRMED.

AN APPEAL FROM THE DISTRICT COURT OF TULSA COUNTY
THE HONORABLE P. THOMAS THORNBRUGH, DISTRICT JUDGE

APPEARANCES AT TRIAL APPEARANCES ON APPEAL
JOHN C. HARRIS III STEPHEN B. HACKETT

P.O. BOX 52206 1623 CROSS CENTER DRIVE
TULSA, OK 74152-0206 NORMAN, OK 73019

COUNSEL FOR APPELLANT COUNSEL FOR APPELLANT
Case 4:04-cv-00724-JHP-FJC Document 6 Filed in USDC ND/QK on 12/22/04 Page 7 of 32

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LARRY R. EDWARDS

ASSISTANT DISTRICT ATTORNEY
900 S. DENVER

406 TULSA COUNTY COURTHOUSE
TULSA, OK 74103

COUNSEL FOR THE STATE

OPINION BY: LUMPKIN, J.
JOHNSON, P.J.: CONCUR
LILE, V.P.J.: CONCUR
CHAPEL, J.: CONCUR
STRUBHAR, J.: CONCUR

W.A. DREW EDMONDSON
ATTORNEY GENERAL OF OKLAHOMA
ANN AGNEW CUPP

ASSISTANT ATTORNEY GENERAL

112 STATE CAPITOL BUILDING
OKLAHOMA CITY, OK 73105
COUNSEL FOR THE STATE
OSS £95¢-BeRgov 24-JHP-PIC Document 6 Filed in USDC ND/QK on 12/22/04 PaRage bek23

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“OSCNrz OKLAHOMA STATE COURTS NETWORK

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IN THE DISTRICT COURT IN AND FOR TULSA COUNTY, OKLAHOMA

 

 

 

 

 

STATE OF OKLAHOMA, No. CF-2001-4067
Plaintiff, —

Crna Foy

ROCKLAND DEJARIO JOHNSON, Wea:*

KIN ROCKY JONNSON Closed: 05/24/2002

AIKIA ace Judge: Dexter, Deirdre O

Parties

 

JOHNSON, ROCKLAND DEJARIO, Defendant
STATE OF OKLAHOMA, Plaintiff
Tulsa Police Department, ARRESTING AGENCY

 

 

 

 

Attorneys

Attorney Represented Parties

HARRIS, JOHN(Bar # ) JOHNSON, ROCKLAND DEJARIO

Due Dates

Docket Code Original Due Date Current Due Date Description
Events

Event Party Docket Reporter

Wednesday, August 22, 2001 at 9:00 AM

PRELIMINARY HEARING ISSUE (PUBLIC
DEFENDER) (PDP)

JOHNSON,

Preliminary
ROCKLAND Hearing Docket

DEJARIO
Wednesday, August 29, 2001 at 9:00 AM
JOHNSON, .
PRELIMINARY HEARING NO ISSUE ROCKLAND Preliminary
(PUBLIC DEFENDER) (PDP) DEJARIO Hearing Dock EXHIBIT
Monday, October 1, 2001 at 9:00 AM 3 2
3
PRELIMINARY HEARING ISSUE JOHNSON, Preliminary TT

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(PRIVATE ATTORNEY) (PVP ) ROCKLAND Hearing Docket
DEJARIO
Friday, October 5, 2001 at 9:00 AM
JOHNSON, J. Michael
DISTRICT COURT ARRAIGNMENT (DCA) ROCKLAND
DEJARIO Gassett
Wednesday, November 28, 2001 at 13:30 PM
DISTRICT COURT w OCT aND J. Michael
ARRAIGNMENT/MOTION HRG (DCA) Re vapig Gassett
Tuesday, December 11, 2001 at 13:30 PM
DISTRICT COURT SOCK eND J. Michael
ARRAIGNMENTIMOTION HRG (DCA) De rarig Gassett
Wednesday, December 12, 2001 at 9:00 AM
DISTRICT COURT JOHNSON, 1. Michael
ARRAIGNMENT/MOTION HEARING ROCKLAND Gace
(DCA) DEJARIO
Friday, March 1, 2002 at 13:30 PM
JOHNSON,
ALLEN (DISCOVERY) HEARING (ADH) ROCKLAND Deirdre O Dexter
: DEJARIO
Monday, April 1, 2002 at 10:00 AM
JOHNSON,
JURY TRIAL (ISSUE) (JTI) ROCKLAND Deirdre O Dexter
DEJARIO
Friday, May 24, 2002 at 9:30 AM
JOHNSON,
SENTENCING (SEN ) ROCKLAND Thon
DEJARIO g

Counts

 

. Parties appear only under the counts with which they were charged. For complete sentence information, see the
court minute on the docket.

Count #1. Count as filed: HM11, MURDER - IN THE FIRST
DEGREE, in violation of 21 0.S. 701.7 Date of
Offense: 03/21/2001

Defendant Disposition Information
JOHNSON, ROCKLAND DEJARIO Disposed: CONVICTION , 05/24/2002. Jury Trial.

Disposed Count Code:HM11

Disposed Statute: O.S.

Count as disposed: MURDER - IN THE FIRST
DEGREE

Count # 2. Count as filed: HM11, MURDER - IN THE FIRST
DEGREE, in violation of 21 O.S. 701.7 Date of

http://www.oscn.net/applications/oscn/GetCaseInformation.asp?number=cf-2001-4067&... 12/20/2004
RGIS Lose Report24-JHP-PIC Document 6 Filed in USDC NDIOK | on 12/22/04 PaGegeSof23

Offense: 03/21/2001

Defendant Disposition Information
JOHNSON, ROCKLAND DEJARIO Disposed: CONVICTION , 05/24/2002. Jury Trial.

Disposed Count Code:HM11
Disposed Statute:_O.S.
Count as disposed: MURDER - IN THE FIRST

 

 

 

 

 

 

 

DEGREE
Citation Information
Docket
Date Code Count Party Serial # Entry Date
05/14/2001 AF/SW - 43964794 OD eam Unrealized $ 0.00
AFFIDAVIT AND RETURN OF SEARCH WARRANT RE-MICROFILMED ON
8/10/2001.
JOHNSON
, Jul 16 2001
07/16/2001 TEXT 1 ROCKLAND 43800782 Sine cson7py $ 0.00
CRIMINAL FELONY INITIAL FILING.
07/16/2001 INFORMATION 1 ROCKLAND 43801010 Jul 16 2001 $ 0.00
DEJARIO 3:07:33:533PM —~ ,
DEFENDANT JOHNSON, ROCKLAND DEJARIO WAS CHARGED WITH
COUNT #1, MURDER - IN THE FIRST DEGREE IN VIOLATION OF 21 O.S.
701.7
07/16/2001 INFORMATION 2 ROCKLAND 43801011 ul 16 2001 $ 0.00
DEJARIO 3:07:33:567PM . .
DEFENDANT JOHNSON, ROCKLAND DEJARIO WAS CHARGED WITH
COUNT #2, MURDER - IN THE FIRST DEGREE IN VIOLATION OF 21 O.S.
701.7
Jul 16 2001
07/16/2001 TEXT - - 43800783 5 .56.48-850PM $ 0.00
OCIS HAS AUTOMATICALLY ASSIGNED JUDGE HARRIS, JESSE S. TO THIS
CASE.
07/23/2001 DAINS ROCKLAND 43863436 Jul 25 2001 Unrealized $0.00
- DEJARIO 3:02:55:053PM nrealize :

DISTRICT ATTORNEY INSPECTION NOTIFICATION

 

http://www.oscn.net/applications/oscn/GetCaseInformation.asp?number=cf-2001-4067&... 12/20/2004
CAGES Hose Report24- JHP-PIC Document 6 Filed in USDC NDIQK on 12/22/04 PaBegeHof22

07/23/2001 CTARRPL - ROCKLAND 4388046 Ju! 27 2001 Unrealized $0.00
DEJARIO 4:00:10:473PM nrealized $0.

SINGER, TODD: DEFENDANT PRESENT, IN CUSTODY. PUBLIC DEFENDER
APPOINTED PER PAUPERS AFFADAVIT. ARRAIGNMENT HELD.
DEFENDANT WAIVES READING OF INFORMATION AND FURTHER TIME TO
PLEAD. COURT ENTERS NOT GUILTY PLEA. PRELIMINARY HEARING SET
FOR 8-22-01 9 AM COURTROOM 344. DEFENDANT REMANDED TO
CUSTODY; BOND REMAINS.

 

JOHNSON,

 

Jul 28 2001 :
07/25/2001 PA - ROCKLAND 43885317 9.49-04-440PM Unrealized $0.00
PAUPER'S AFFIDAVIT
soriSON Aug 9 2001
08/09/2001 CTFREE - ROCKLAND 43960084 ».99.3.370PM Unrealized $0.00

SMITH CLANCY: CASE TRANSFERRED TO JUDGE GASSETT, ORIGINAL
ASSIGNMENT HIS.

 

08/13/2001 APLI ROCKLAND 43999953 Aug 15 2001 U lized $0.00
: DEJARIO 2:53:20:497PM nrealize .

APPLICATION TO WITHDRAW AS ATTORNEY OF RECORD

 

08/15/2001 O ROCKLAND 44024274 4U9202001 ned gg.00
: DEJARIO 12:58:47:680PM :

ORDER FOR REASSIGNMENT OF CRIMINAL DISTRICT JUDGE

 

JOHNSON, Aug 22 2001

08/22/2001 CTPASS - ROCKLAND 44041355 44 44-18-720AM Realized $ 0.00

SMITH SARAH: DEFENDANT PRESENT, I/C AND REPRESENTED BY SHENA
BURGESS. STATE REPRESENTED BY CALEB RAYNOLDS. PRELIMINARY
HEARING PASSED TO 8/29/2001 NO ISSUE. BOND TO REMAIN; DFT

 

REMANDED TO CUSTODY .
JOHNSON
r Aug 29 2001 :
08/22/2001 CTFREE - ROCKLAND 44081650 9 55.44-763AM Realized $ 0.00

SINGER TODD: JOHN HARRIS APPOINTED AS CONFLICT DEFENDER.

 

08/27/2001 APLI ROCKLAND 44087621 Aug 29 2001 U lized $0.00
: DEJARIO 2:42:02:623PM nrealize .

APPLICATION TO WITHDRAW AS ATTORNEY OF RECORD

 

08/29/2001 CTPASS ROCKLAND 44091901 Aug 29 2001 Realized $0.00
: DEJARIO 6:06:50:090PM eailze .

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CASS LOK RE 24-IHP-PIC Document 6 Filed in USDC ND/QK on 12/22/04 PaRaged of 23

HASKINS KYLE: DEFENDANT PRESENT, I/C AND REPRESENTED BY JOHN
HARRIS WHO NOW ENTERS HIS APPEARANCE. STATE REPRESENTED BY
LARRY EDWARDS. PRELIMINARY HEARING PASSED TO 10/1/2001 @ 9 AM.
BOND TO REMAIN; DFT REMANDED TO CUSTODY .

 

JOHNSON, Aug 31 2001
08/29/2001 O - ROCKLAND 44107199 5.46-34-56qpy _ Unrealized $0.00

ORDER APPOINTING CONFLICT DEFENDER

 

 

 

JOHNSON
. Sep 17 2001 $
09/14/2001 RTSUB$ ROCKLAND 44202320 4.94-45-253pm ‘Realized 30.00
RETURN SUBPOENA ($ 30.00)
JOHNSON
_ Sep 17 2001 $
09/14/2001 RTSUB$ ROCKLAND 44202321 4.95.94-330pq «Realized 30.00
RETURN SUBPOENA (§$ 30.00)
09/24/2001 CTFREE - 48244102 ee eam Realized = $ 0.00

BITTING TERRY: ORDER TO TRANSPORT CHAUNCY MINOR, DETAINED AT
VISION QUEST IN FAXON, OK TO BE BROUGHT TO DISTRICT COURT OF
TULSA COUNTY OKLAHOMA 10/1/2001 @ 8:30 AM TO APPEAR AS A
WITNESS FOR THE STATE AGAINST ROCKLAND JOHNSON.

 

JOHNSON
r Sep 26 2001 :
09/24/2001 ADISC - ROCKLAND 44263985 35S eeopn, Unrealized $ 0.00

DEJARIO
ACKNOWLEDGEMENT OF RECEIPT OF DISCOVERY

 

 

JOHNSON
1 Sep 26 2001 :
ORDER TO TRANSPORT
JOHNSON
Sep 26 2001 $
09/25/2001 RTSUB$ - ROCKLAND 44267914 706 46-623PM Realized 30.00

RETURN SUBPOENA (§ 30.00)

 

 

JOHNSON, Oct 2 2001
09/28/2001 RTSUB - ROCKLAND 44300916 14:53:07:987AM Unrealized $0.00
RETURN SUBPOENA
10/01/2001 CTPRLDCA ROCKLAND 44297193 Oct! 2001 Realized $0.00
- DEJARIO 4:58:02:527PM eallze

SMITH CLANCY: DEFENDANT PRESENT, I/C AND REPRESENTED BY JOHN

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CAS Hose Report 24-JHP-PIC Document 6 Filed in USDC NDIQK on 12/22/04 PaRegesof22

HARRIS. STATE REPRESENTED BY ED SNOW AND LARRY EDWARDS.
COURT REPORTER: CHRISTY LEGG. CASE CALLED FOR PRELIMINARY
HEARING. 4 WITNESSES SWORN; . DEFENDANT'S MOTION TO SUPPRESS
OVERRULED PRIOR TO PRELIMINARY HEARING. DEMURRER OVERRULED.
DEFENDANT IS BOUND OVER TO DISTRICT COURT ON THE CHARGE(S) OF
MURDER 1 X 2 BEFORE JUDGE GASSETT 10/5/2001 @ 9 AM. BOND TO
REMAIN; DFT REMANDED TO CUSTODY .

 

 

 

10/01/2001 REQCR - ROCKLAND 44297197 Oct.1 2001 Realized $
DEJARIO 4:58:19:747PM 20.00
COURT REPORTER FEE AT TRIAL (JURY/ NON- JURY) ($ 20.00)
JOHNSON
Jul 18 2002
10/01/2001 MO - ROCKLAND 46254050 4-16:27-000PM Unrealized $0.00
MOTION TO SUPPRESS
10/05/2001 CTEREE ROCKLAND 44348832 Oct 9 2001 Unrealized $0.00
- DEJARIO 2:59:45:220PM nrealize .

GASSETT MICHAEL: DEF'T NOT PRESENT, IN CUSTODY. REPRESENTED
BY JOHN HARRIS. STATE BY TRACY PRIDDY. CASE CALLED FOR DISTRICT
COURT ARRAIGNMENT. MOTIONS TO BE FILED BY 11-21-01. HEARING
RESET TO 11-28-01 @1:30 P.M. BOND TO REMAIN SAME.

 

11/13/2001 CTFREE ROCKLAND 44570249 Nov 13 2001 Unrealized $0.00
/ DEJARIO 11:09:33:907AM _UNrealize .

GASSETT MICHAEL: ORDER ALLOWING PREPARATION OF TRANSCRIPT
AT PUBLIC EXPENSE SIGNED.

 

JOHNSON, Nov 14 2001
11/13/2001 O - ROCKLAND 44582925 40:53:55:040AM Unrealized $0.00
DEJARIO —

ORDER ALLOWING PREPARATION OF TRANSCRIPT AT PUBLIC EXPENSE

 

JOHNSON,

 

Nov 15 2001 .
11/14/2001 CCERT - ROCKLAND 44594937 45.04-53-880PM Unrealized $0.00
COURT REPORTER'S CERTIFICATE
JOHNSON
Nov 26 2001
11/21/2001 DEFT - ROCKLAND 44652359 45.47.48-800PM Unrealized $0.00

DEFENDANT'S EX PARTE MOTION FOR THE APPOINTMENT OF A PRIVATE
INVESTIGATOR AT STATE EXPENSE

 

11/28/2001 CTFREE COOKTAND 44676094 NOV292001 yy $0.00
: DEJARIO 11:35:52:023AM UV Nrealize

http://www.oscn.net/applications/oscn/GetCaseInformation.asp?number=cf-2001-4067&... 12/20/2004
Caw Aes Report -JHP-PIC Document 6 Filed in USDC NDIOK on 12/22/04 PaBege4/ @f23

GASSETT MICHAEL: DEF'T NOT PRESENT, IN CUSTODY. REPRESENTED
BY JOHN HARRIS. STATE BY ED SNOW. CASE CALLED FOR DISTRICT
COURT ARRAIGNMENT/MOTION HRG. HEARING PASSED BY AGREEMENT
TO 12-11-01 @1:30 P.M. BOND TO REMAIN SAME.

 

11/29/2001 AFPCA - ROCKLAND 44688603 Nov 30 2001 U lized $0.00
DEJARIO 3:25:42:840PM nrealize .

AFFIDAVIT & FINDING OF PROBABLE CAUSE T.R.A.C.I.S. (ARRESTED)

 

12/04/2001 T&2 ROCKLAND 44714941 Dec 5 2001 U ized $0.00
: DEJARIO 9:50:45:007AM nreailze .

ORIGINAL TRANSCRIPT & 2 COPIES OF PRELIMINARY HEARING OCTOBER
1, 2001 (COPY TO DA AND COPY RETAINED IN FILE FOR JOHN HARRIS)

 

12/11/2001 CTFREE ROCKLAND 44759736 Dec 11 2001 Unrealized $0.00
- DEJARIO 3:18:09:203PM hreaize
JUDGE MICHAEL GASSETT: MOTION HEARING PASSED TO 12/12/01 9:00
AM. DEFT RECOGNIZED BACK. BOND TO REMAIN.

 

12/12/2001 CTARRPL ROCKLAND 44765317 Dec 12 2001 Unrealized $0.00
- DEJARIO 11:45:38:673AM Vv hrealize

JUDGE MICHAEL GASSETT: DEFENDANT PRESENT, AND REPRESENTED
BY JOHN HARRIS. ARRAIGNMENT HELD. BY AGREEMENT MOTION TO -
SUPPRESS TAKEN UNDER ADVISEMENT UNTIL TRIAL. DEFENDANT
WAIVES READING OF THE INFORMATION AND FURTHER TIME TO PLEAD.
DEFENDANT ENTERS A PLEA OF NOT GUILTY. JURY TRIAL SET FOR 4/1/02
9AM. BOND TO REMAIN; DEFENDANT RECOGNIZED BACK.

 

12/12/2001 CTFREE ROGKLAND 44785762 Dec 14 2001 y ized $0.00
: DEJARIO 11:21:05:410am 9’ hreallze .

GASSETT MICHAEL: DISCOERY SET FOR 3-2-02 9 A.M.

 

 

 

JOHNSON
Dec202001 $
12/19/2001 PYREQ - ROCKLAND 44823981 4 4.43-56-160am Realized 220.00
PAYMENT REQUEST - TRANSCRIPTS VOUCHER#101591 ($ 220.00)
JOHNSON
Dec 26 2001 . $
42/21/2001 RTSUB$ - ROCKLAND 44837272 9°27-34:513AM Unrealized 30.00
RETURN SUBPOENA (§$ 30.00)
JOHNSON
, Dec 26 2001 . $
12/21/2001 RTSUB$ - ROCKLAND 44837275 g9743.¢73am Unrealized 49 aq

RETURN SUBPOENA (§ 30.00)

 

http://www.oscn.net/applications/oscn/GetCaseInformation.asp?number=cf-2001-4067&.... 12/20/2004
CIS Coxe Rept 24-JHP-PIC Document 6 Filed in USDC NDIQK on 12/22/04 PaBage8 of 23

 

 

42/28/2001 RTSUB$ ROCKLAND 44863872 J2n_2 2002 Realized $
- DEJARIO 11:30:15:770AM  Eallze 30.00
RETURN SUBPOENA ($ 30.00)
Jan 7 2002
01/07/2002 TEXT - . aaggs4o4 yan / 200 aM $ 0.00
ADMINISTRATIVELY REASSIGNED TO DEXTER, J. PER ADMINISTRATIVE
ORDER
03/01/2002 CTFREE ROCKLAND 45282576 Mar 1 2002 Unrealized $0.00
- DEJARIO 1:30:39:830PM = Vnrealize

DEXTER D: ORDER SIGNED (TO ENDORSE WITNESSES)

 

03/01/2002 CTFREE ROCKLAND 45083197 Mat 1.2002 Unrealized $0.00
: DEJARIO 2:07:55:260PM nrealize .

DEXTER D: ORDER APPOINTING A PRIVATE INVESTIGATOR SIGNED

 

 

 

03/01/2002 O ROCKLAND 45289888 Mar 4 2002 Unrealized $0.00
- DEJARIO 11:32:13:403aM  Yhreaiize
ORDER
JOHNSON :
ARIE Mar 4 2002 .
03/01/2002 NOEVI - ROCKLAND 45289935 4 4-35-09-477AM Unrealized $0.00
NOTICE OF INTENT TO USE EVIDENCE OF OTHER CRIMES AND/OR BAD
ACTS
03/01/2002 AWITO ROCKLAND 45289945 Mar 4 2002 Unrealized $0.00
- DEJARIO 11:35:47:067AM | UNrealize

APPLICATION TO ENDORSE WITNESS ON INFORMATION

 

JOHNSON, Mar 4 2002 ;
03/01/2002 O - ROCKLAND 45289973 41.37.98-830am Unrealized $0.00
DEJARIO ~~

ORDER APPOINTING A PRIVATE INVESTIGATOR

 

JOFINSON, Mar 4 2002
03/01/2002 B - ROCKLAND 45289982 44.47.34.453ay, Unrealized $ 0.00
DEJARIO —s

BRIEF IN SUPPORT OF ADMITTING EVIDENCE OF ORGANIZATIONAL OR
GANG MEMBERSHIP

 

03/01/2002 CTFREE ROCKLAND 45375584 Mar 14 2002 y ized $0.00
: DEJARIO 2:08:47:797PM nreaiize .

DEXTER D: DEF'T NOT PRESENT, IN CUSTODY. REPRESENTED BY JOHN
HARRIS. STATE BY LARRY EDWARDS. SANDY CRITTENDEN, REPORTER.

http://www.oscn.net/applications/oscn/GetCaseInformation.asp?number=cf-2001-4067&.... 12/20/2004
Cit Hae Repert24-JHP-PIC Document 6 Filed in USDC NDIOK on 12/22/04 PaBege@of23

CASE CALLED FOR DISCOVERY HEARING. MATERIAL EXCHANGED. ANY
OTHER MATERIAL TO BE EXCHANGED WITHIN 10 DAYS OF JURY TRIAL.

 

03/15/2002 DEFT - ROCKLAND 4szea4o3 Mar 182002 Wine $0.00
DEJARIO 9:46:19:473AM nrealize .

DEFENDANTS LIST OF WITNESSES AND EXHIBITS

 

JOHNSON,

 

 

 

Mar 20 2002 .
03/19/2002 RTSUB - ROCKLAND 45414877 40-49-49-960AM Unrealized $0.00
RETURN SUBPOENA/AUTHOR COLE
JOHNSON
. Mar 20 2002 .
03/19/2002 RTSUB - ROCKLAND 45414883 40.44-06-833am Unrealized $ 0.00
RETURN SUBPOENA/BRENT ROGERS
JOHNSON
, Mar 20 2002 .
03/19/2002 RTSUB - ROCKLAND 45414885 40.44-00-910am Unrealized $0.00
RETURN SUBPOENA/CHANCY MINOR
JOHNSON
" Mar 21 2002 .
03/20/2002 RTSUB - ROCKLAND 45422865 9.50-33-560AM Unrealized $0.00

RETURN SUBPOENA/CHRISTOPHER "JED" HENRY

 

03/21/2002 TEXT JOHNSON, jaaogo MAr222002 aie g a.gg
: DEJARIO 12:17:14:957PM VU hrealize .

DEFENDANTS LIST OF WITNESSES AND EXHIBITS (SECOND AMENDED)

 

JOHNSON
: Mar 22 2002 :
03/21/2002 DEFT - ROCKLAND 46434043 49:47:37-997pq Unrealized $ 0.00

DEFENDANT'S LIST OF WITNESSES AND EXHIBITS (AMENDED)

 

 

JOHNSON
. , Mar 25 2002 .
03/22/2002 MO - ROCKLAND 45440914 40:09:31:610AM Unrealized $0.00
MOTION TO COMPEL
JOHNSON
, Mar 26 2002 .
03/25/2002 DEFT - ROCKLAND 45451563 40.44-39-600AM Unrealized $0.00

DEFENDANT'S MOTION IN LIMINE TO ENJOIN PROSECUTOR FROM
IMPLYING GANG AFFILIATION OR IN THE ALTERNATIVE, MOTION FORA
DAUBERT HEARING

 

_ JOHNSON, ‘
03/28/2002 RTSUB ROCKLAND 45482122 Apr 1 2002 Unrealized $0.00

http://www.oscn.net/applications/oscn/GetCaseInformation.asp?number=cf-2001-4067&... 12/20/2004
CASES Heme ReDOE2A-JHP-PIC Document 6 Filed in USDC NDIOQK on 12/22/04 PRagetof23

DEJARIO 11:39:58:207AM
RETURN SUBPOENA/MARQUIS COLEMAN

 

JOHNSON,

Apr 2 2002 :
04/01/2002 WHCT -  ROCKLAND 48495677 7955 50:2e7qy Unrealized $0.00

WRIT OF HABEAS CORPUS AD TESTIFICANDUM

 

JOHNSON, Apr 2 2002

04/01/2002 PWHCT -  ROCKLAND 45495680 ""s5.67:¢27ay Unrealized $0.00

PETITION - WRIT OF HABEAS CORPUS AD TESTIFICANDUM

 

04/01/2002 CTFREE ROCKLAND 45576099 Apr 12 2002 U lized $0.00
/ DEJARIO 3:06:17:107PM nreaiize .

DEXTER D: DEF'T NOT PRESENT, IN CUSTODY. REPRESENTED BY JOHN
HARRIS. STATE BY STEVE KUNZWEILER. CASE CALLED FOR JURY TRIAL.
CASE TRANSFERRED TO JUDGE THORNBURGH INSTANTER. BOND TO

 

 

 

 

 

 

REMAIN SAME.
JOHNSON
Apr 3 2002 $
04/02/2002 RTSUB - ROCKLAND 45506853 “Pro <7 Realized
$ DEJARIO 11:54:35:407AM 30.00
RETURN SUBPOENA/DONALD SHAWN JORDAN ($ 30.00)
JOHNSON
Apr 3 2002 $
04/02/2002 RTSUB$ - ROCKLAND 45506857 {)  o-. Realized
DEJARIO 11:54:55:780AM 30.00
RETURN SUBPOENA/MARCO MURPHY ($ 30.00)
JOHNSON
Apr 3 2002 $
04/02/2002 RTSUBS$ - ROCKLAND 45506874 {F< “7 Realized
DEJARIO 11:55:17:140AM 30.00
RETURN SUBPOENA/TAMICA ANDERSON ($ 30.00)
JOHNSON
Apr 3 2002 $
04/02/2002 RTSUB$ - ROCKLAND 45506887 {\Pi2 <\ Realized
DEJARIO 41:55:34:623AM 30.00
RETURN SUBPOENA/DENITA QUINNEY ($ 30.00)
JOHNSON
Apr 3 2002 . $
04/02/2002 RTSUB$ - ROCKLAND 45506889 {Fo 4): Realized
DEJARIO 11:55:51:653AM 30.00
RETURN SUBPOENA/MARQUIS COLEMAN ($ 30.00)
JOHNSON
Apr 3 2002 $
04/02/2002 RTSUB$ - ROCKLAND 45506894 7 A J13. Realized
DEJARIO 11:56:11:450AM 30.00

RETURN SUBPOENA/ERIC GOODE ($ 30.00)

 

JOHNSON,

http://www.oscn.net/applications/oscn/GetCaseInformation.asp?number=cf-2001-4067&... 12/20/2004
GAGES Case Report 24-JHP-PAC Document 6 Filed in USDC NDIOK on 12/22/04 PRagelAl of 22

 

 

 

 

 

 

 

 

04/02/2002 RTSUBS -  DeUARIO 45506001 P3200. Realized an
RETURN SUBPOENA/KEJUAN REED ($ 30.00)
JOHNSON,
04/02/2002 RTSUB$ - ROCKLAND 45506904 /Pr 3 2002 Realized $
DEJARIO 11:56:46:807AM Seallze 30.00
RETURN SUBPOENA/AUTHUR COLE ($ 30.00)
JOHNSON
Apr 3 2002 . $
04/02/2002 RTSUB - ROCKLAND 45506908 {- @~* Realized
$ DEJARIO 11:57:04:293AM 30.00
RETURN SUBPOENA/BRENT ROGERS ($ 30.00)
JOHNSON
Apr 3 2002 $
04/02/2002 RTSUB - ROCKLAND 45506910 (7.523. Realized
$ DEJario 11:57:23:527AM 30.00
RETURN SUBPOENA/TONAY HUNT (§ 30.00)
JOHNSON
Apr 3 2002 $
04/02/2002 RTSUBS - ROCKLAND 45506911 (7) <7. Realized
BEJARIO 11:57:38:713AM 30.00
RETURN SUBPOENA/DERITH WALKER ($ 30.00)
JOHNSON
Apr 3 2002 . $
04/02/2002 RTSUB$ - ROCKLAND 45506912 17 oo ¢4. Realized
DEJaRio 11:57:53:197AM 30.00
RETURN SUBPOENA/DARREN WALKER (§$ 30.00)
JOHNSON
Apr 3 2002 $
04/02/2002 RTSUB$ - ROCKLAND 45506924 (34: Realized
OLUARIO 11:58:09:697AM 30.00
RETURN SUBPOENA/CHAUNCEY MINOR ($ 30.00)
JOHNSON, Apr 3 2002
04/02/2002 RTSUB -  ROCKLAND 48508027 STS ESeeaayy Unrealized $ 0.00
RETURN SUBPOENA/DONALD JORDAN
04/03/2002 CTFREE - 45515468 “Pre Me am Unrealized $0.00

P. THOMAS THORNBRUGH: 2 WITNESS TAKEN IN TO CUSTODY,
CHAUNCEY MINOR; NF-02-3624 AND CHRISTOPHER HENRY; NF-02-3625,
BY ORDER TO THE COURT TO BE HELD WITHOUT BOND. WITNESS ORDER
TO APPEAR BEFORE JUDGE THORNBRUGH ON APRIL 9, 2002 @ 9:30 AM.
ORDER OF COMMITMENT ISSUED FOR BOTH WITNESS.

 

04/05/2002 RETCO - 45533161 Oe ae esoaqm Unrealized $ 0.00

RETURN COMMITMENT (CHAUNCEY MINOR) (AMENDED)

 

http://www.oscn.net/applications/oscn/GetCaseInformation.asp?number=cf-2001-4067&.... 12/20/2004
ACES Lose Report24-JHP-PIC Document 6 Filed in USDC NDIOK on 12/22/04 PRggelk2 wf 23

04/05/2002 RETCO - 45533169 OO ee am Unrealized $0.00

RETURN COMMITMENT (CHAUNCEY MINOR)

 

04/05/2002 RETCO - 45533178 Pr Ae am Unrealized $0.00

RETURN COMMITMENT (CHRISTOPHER HENRY)

 

JOHNSON, Apr 8 2002
04/05/2002 CTFREE - ROCKLAND 45537656 {1 5-58-080PM Unrealized $0.00

P. THOMAS THORNBRUGH: (JURY MINUTE) CASE CALLED, BOTH SIDES
PRESENT AND ANNOUNCE READY FOR TRIAL. THE STATE OF OKLAHOMA
PRESENTS AND REPRESENTED BY ED SNOW, AND LARRY EDWARDS,
DEFENDANTS PRESENT AND REPRESENTED BY JOHN HARRIS. THE
JURORS ARE CALLED AND SWORN AS TO QUALIFICATIONS, THE JURY IS
IMPANELED AND EXAMINED FOR CAUSE. THE FOLLOWING JURORS ARE
EXCUSED FOR CAUSE DOUGLAS E. MCFARLIN, GUI DELANO LOWMACK,
ROSS CAMP, TIMOTHY SCOTT MCLEOD, JUAN TERRELL RIDGE, AND
DAVID JR. GILLESPIE. THE JURORS ARE ACCEPTED FOR CAUSE.
PEREMPTORY CHALLENGES:

STATES

1.CHARLENE K. KROUTTER

2.FREDRICK JOHNSON

3.STATE WAIVES THIRD PEREMPTORY

4.LINDA VIDA CONWELL

5.ROY JR. LUMLY

6.DONALD RAY WYATT

7.STATE WAIVES SEVENTH PEREMPTORY

8.STATE WAIVES EIGHTH PEREMPTORY

9.KRISTY D. BARNETT

DEFENDANT

. WAYNE FERGUSON

. DARREL LELAND SLACK

. BRIAN CLIFTON MAYHALL

. JOHN NEILSON CHAPPELL

. JOSHUA LEE NICHOLS

. CLARENCE L. POTTER

. DONALD LEE SMITH

. DEFENDANT WAIVES EIGHTH PEREMPTORY

9. STEPHEN TOLBERT

THE FOLLOWING JURORS WERE NOT SEATED BUT EXAMINED:

1.VERA KRISTIN "KRISTY" SUTTE

2.JOE WALLACE DYCHES

3.DONNA KIM FORTNER

4.HARRY CURTIS BAILEY

CONOR WNH =

THE FOLLOWING JURORS WERE SEATED AND EXAMINED:
1. AMANDA B. BETHEL
2. PATRICIA MAE GOWEY

http://www.oscn.net/applications/oscn/GetCaseInformation.asp?number=cf-2001-4067&.... 12/20/2004
Cts Heme ReDOr24- JHP-PIC Document 6 Filed in USDC NDIQK on 12/22/04 PRage2t3 wf 23

3. JOSEPH V. DAVIS

4, SUE H. WALKER

5. TIM SKJERSETH

6. LEWIS O. WEST

7. TRACY LYNN MCCORKLE

8. JANET MOODY

9. STEVEN E. AMOUS

10. JAMES M. SEATON

11. EDWARD C. BENTON

12. JANE DELOIS WALKER

ALT 1 BRIAN DANIEL KNIGHT

ALT 2 CHRISTOPHER ONEILL

OPENING STATEMENTS ARE MADE BY THE STATE, DEFENDANT
RESERVED HIS OPENING STATEMENT. 17 WITNESSES SWORN.
REPORTER JODI D'VOREE ILES. RULE WAS INVOKED WITH THE
EXCEPTION OF THE DEFENDANT'S MOTHER, DEBORAH PEEPLES, AND
KAREN LAWRENCE ONCE HER TESTIMONY WAS RECEIVED. STATE
PRESENTS EVIDENCE AND REST. DEFENDANT DEMURS AND DEMURRER
IS OVERRULED. DEFENDANT MAKES OPENING STATEMENTS AND CALLS
WITNESSES AND REST. THE JURY IS INSTRUCTED AS TO THE LAW.
CLOSING ARGUMENTS ARE MADE. THE BAILIFF IS SWORN AND ON
FEBRUARY 14, 2002 AT 11:35 A.M., THE BAILIFF AND THE JURY RETIRE
FOR DELIBERATION. ON MARCH 5, 2002 AT 12:35 P.M., JURY RETURNS
INTO OPEN COURT WITH THEIR VERDICT AT 8:20 P.M., WHICH IS READ IN
OPEN COURT, ORDER RECORDED AND FILED, AND IS, TO WIT: "WE, THE
JURY IMPANELED AND SWORN IN THE ABOVE ENTITLED CAUSE, DO
UPON OUR OATHS FIND THE DEFENDANT GUILTY AND FIX PUNISHMENT
AT LIFE ON COUNT ONE AND COUNT TWO. JURORS CONCURRING,
SIGNED EDWARD C. BENTON, FOREMAN."

WITNESSES SWORN:

STATE: DEFENDANT:

OFFICER JAMES ROGERS ITEJUAN REED
E.A. COFFMAN ERIC GOOD

BRENT ROGERS DEBORAH PEEPLES
KAREN LAWRENCE HOWARD PEEPLES
ERICIA EATON

ARTHER COLE

CHAUNCY MINOR

ANDREW WIBLEY, DR. EXPERT
CHRISTOPHER HENRY

MARK ROBINSON

DET. TOM CAMPBELL

DET. MARY LOVEALL

DENNIS FULLER

CASE SET FOR SENTENCING ON MAY 24, 2002 @ 9:30AM

 

45591195 Apr 16 2002 Unrealized $0.00

04/09/2002 RETRL 8:38:42:290AM

http://Awww.oscn.net/applications/oscn/GetCaseInformation.asp?number=cf-2001-4067&.... 12/20/2004
CXEES Base Report 24-JHP-PIC Document 6 Filed in USDC ND/QK on 12/22/04 PPgge2l4@if23

RETURN RELEASE (MATERIAL WITNESS) MICROFILMED 4-16-02

 

04/15/2002 TEXT - ROCKLAND 45593169 “Pr 16 2002 Unrealized $0.00
DEJARIO 10:20:43:953AM 9 ~/realize .

STATEMENT OF THE CASE AND INSTRUCTIONS OF THE COURT

 

JOHNSON,

 

 

 

Apr 16 2002
04/15/2002 V - ROCKLAND 45593173 ‘45.09-67-933am Unrealized $ 0.00
VERDICT
JOHNSON
t Apr 16 2002 :
04/15/2002 V -  ROCKLAND 45593175 {Eo i'ceo30am Unrealized $ 0.00
VERDICT
JOHNSON
r May 24 2002 :
05/23/2002 RETCO -  ROCKLAND 45868096 9:54 34.367aq Unrealized $ 0.00
RETURN COMMITMENT
05/23/2002 RULE8 ROCKLAND 45880111 Ju!_18 2002 Unrealized $0.00
- DEJARIO 4:27:55:813PM nrealize

ORDER OF THE COURT - RULE 8 HEARING

 

05/24/2002 CTSEN ROCKLAND 45870970 May 24 2002 U lized $0.00
: DEJARIO 11:53:05:283AM -Vhreaize .

P. THOMAS THORNBRUGH: DEFENDANT PRESENT, IN CUSTODY AND
REPRESENTED BY JOHN HARRIS. STATE REPRESENTED BY ED SNOW.
COURT REPORTER JODI ILES. CASE CALLED FOR SENTENCING.
REPORTS RECEIVED AND COPIES FURNISHED TO PARTIES. DEFENDANT
TO SERVE LIFE INDEPARTMENT OF CORRECTIONS FOR COUNT ONE,
DEFENDANT TO SERVE LIFE IN DEPARTMENT OF CORRECTIONS FOR
COUNT TWO, BOTH TO RUN CONSECUTIVE. DEFENDANT ASSESSED PSI
FEE IN THE AMOUNT OF $ 250.00 AND COURT COSTS. DEFENDANT
EXECUTES RULE 8 FORM DEFENDANT ADVISED OF APPEAL RIGHTS.
BOND EXONERATED. JUDGMENT AND SENTENCE ISSUED. COMMITMENT
FOR PUNISHMENT ISSUED.

 

JOHNSON
May 24 2002
05/24/2002 CONVICTED 1 — ROCKLAND 45871051 May 20 2002 | $ 0.00

DEJARIO
P. THOMAS THORNBRUGH , JUDGE: CASE DISPOSED. CONVICTION.

 

05/24/2002 CONVICTED 2 ROCKLAND 45871084 May 24 2002 $0.00
DEJARIO 12:00:02:083PM —~ .

P. THOMAS THORNBRUGH , JUDGE: CASE DISPOSED. CONVICTION.

 

http://www.oscn.net/applications/oscn/GetCaseInformation.asp?number=cf-2001-4067&.... 12/20/2004
QC Case RepOT24-JHP-PJC Document 6 Filed in USDC NDIQK on 12/22/04 PPage2i5 of 22

 

o~
JOHNSON
[ May 24 2002 .

05/24/2002 CTFREE -  ROCKLAND 45871103 Sb tto.7eapy Unrealized $0.00
P. THOMAS THORNBRUGH: ORDER APPROVING ATTORNEY FEES
ENTERED.

JOHNSON
r May 24 2002 .
05/24/2002 CTFREE - RRO 45871113 45.94-5a-a77pq Unrealized $ 0.00

P. THOMAS THORNBRUGH: DEFENDANT FOUND INDIGENT.

 

JOHNSON,

 

 

 

 

 

 

 

 

May 28 2002 .
05/24/2002 J&S - ROCKLAND 45880097 4,-56-54.660am Unrealized $0.00
JUDGMENT AND SENTENCE (CT. 1 & 2)
JOHNSON
May 24 2002 $
05/24/2002 COSTF 1 ROCKLAND 45871052 47-66.44-913AM Realized 95.00
COURT COSTS ON FELONY(§$ 95.00)
JOHNSON
. May 24 2002 .
05/24/2002 CLEET 1 ROCKLAND 45871053 47 53-44-o60am Realized $6.92
C.L.E.E.T. PENALTY ASSESSMENT($ 6.92)
JOHNSON
: May 24 2002 .
05/24/2002 AFIS 1 ROCKLAND 45871054 44 58 44-990AM Realized $ 2.94
C.L.E.E.T. PENALTY ASSESSMENT FOR AFIS($ 2.94)
JOHNSON
May 24 2002
05/24/2002 SSF 1 ROCKLAND 45871055 i44e-45-0o7am Realized $5.00
SHERIFF'S SERVICE FEE ON ARRESTS($ 5.00)
JOHNSON
May 24 2002 .
05/24/2002 AFISA 1 ROCKLAND 45871056 1, 53-45-037am Fealized $0.06
AFIS ADMINISTRATIVE FEE($ 0.06)
JOHNSON
May 24 2002 .
05/24/2002 CLEETA 1 ROCKLAND 45871057 44 55-45-053am Realized $0.08
CLEET ADMINISTRATIVE FEE($ 0.08)
JOHNSON
t May 24 2002 .
05/24/2002 PFE7 1 ROCKLAND 45871058 11'53.45-070am Realized — $ 3.00
LAW LIBRARY FEE($ 3.00)
JOHNSON, May 24 2002 $

hittp://www.oscn.net/applications/oscn/GetCaseInformation.asp?number=cf-2001-4067&.... 12/20/2004
GACH Kase RepOT24-JHP-PJC Document 6 Filed in USDC NDIQK on 12/22/04 PRage2S of 23

a

ROCKLAND 11:58:45:100AM
05/24/2002 PSIR 1 DEJARIO 45871059
PRE-SENTENCE INVESTAGATION($ 250.00)

Realized 250.00

 

 

 

JOHNSON
" May 24 2002 . $
05/24/2002 COSTF 2 ROCKLAND 45871085 45-09-.09-113pm Realized 95.00
COURT COSTS ON FELONY($ 95.00)
JOHNSON
May 24 2002
05/24/2002 CLEET 2 ROCKLAND 45871086 9:0¢-02-460pm Realized $6.92
C.L.E.E.T. PENALTY ASSESSMENT($ 6.92)
JOHNSON
May 24 2002 .
05/24/2002 AFIS 2 ROCKLAND 45871087 45-99-99 190pm Realized $2.94

C.L.E.E.T. PENALTY ASSESSMENT FOR AFIS($ 2.94)

 

JOHNSON,
05/24/2002 SSF 2 ROCKLAND 45871088 Nea On SD aPM
DEJARIO wee

SHERIFF'S SERVICE FEE ON ARRESTS($ 5.00)

Realized $ 5.00

 

JOHNSON,
05/24/2002 AFISA 2 ROCKLAND 45871089 Way 20 202
DEJARIO :00:02:

AFIS ADMINISTRATIVE FEE($ 0.06)

Realized $ 0.06

 

JOHNSON,

 

 

 

May 24 2002 .
05/24/2002 CLEETA 2 ROCKLAND 45871090 45.00.909-053PM Realized $ 0.08
CLEET ADMINISTRATIVE FEE($ 0.08)
JOHNSON
May 24 2002
05/24/2002 PFE7 2 ROCKLAND 45871091 45-00-09-270PM Realized $ 3.00
LAW LIBRARY FEE($ 3.00)
JOHNSON
May 29 2002
05/28/2002 O - ROCKLAND 45889613 9.66.99-053AM Unrealized $0.00
ORDER APPROVING ATTORNEY FEES
JOHNSON
, May 29 2002 :
05/28/2002 APLI - ROCKLAND 45889621 9.65-44-833AM Unrealized $0.00

APPLICATION FOR ORDER ALLOWING ATTORNEY FEES

 

JOHNSON
May 30 2002
05/29/2002 NOREQ - ROCKLAND 45899011 9.94-51-820AM

$

Realized 400.00

http://www.oscn.net/applications/oscn/GetCaseInformation.asp?number=cf-2001-4067&.... 12/20/2004
GafetSAipsedepo%24-JHP-PIC Document 6 Filed in USDC ND/QK on 12/22/04 P@age2H/@t23

NOTICE OF INTENT TO APPEAL; ORDER DETERMINING INDIGENCY,
APPELLATE COUNSEL, PREPARATION OF APPEAL RECORD, GRANTING
TRIAL COUNSEL'S MOTION TO WITHDRAW; COURT REPORTER
ACKNOWLEDGMENT; NOTIFICATION OF APPELLATE COUNSEL IF
APPOINTED.($ 100.00)

 

05/31/2002 RETCP ROCKLAND 45921647 wun 3 2002 U lized $0.00
: DEJARIO 9:32:19:987AM nrealize .

RETURN COMMITMENT FOR PUNISHMENT

 

05/31/2002 RETCP ROCKLAND 45921650 Jun3 2002 Unrealized $0.00
: DEJARIO 9:32:24:797AM nreaiize .

RETURN COMMITMENT FOR PUNISHMENT

 

JOHNSON, Jun 4 2002

06/03/2002 TEXT -  ROCKLAND 45992485 9"12.57-050ay Unrealized $ 0.00

COPY OF TRANSCRIPT OF PRELIMINARY HEARING OCTOBER 1, 2001
RETURNED BY JOHN HARRIS

 

JOHNSON,

Jun 5 2002 :
06/04/2002 PSIR = ROCKLAND 45941218 5 55-c7.407aq__ Unrealized $0.00

PRE-SENTENCE INVESTIGATION REPORT

 

JOHNSON,

 

 

 

 

06/04/2002 CAP -  ROCKLAND 45941238 Sabaeocsam Unrealized $ 0.00
DEJARI eel
CERTIFICATE OF APPEAL - #F-2002-685
JOHNSON
Jun 7 2002 $
06/06/2002 RETJS$ 4 ROCKLAND 45960741 \700',0. Realized
DEJARIO 9:28:20:270AM 30.00
RETURN JUDGMENT & SENTENCE ($ 30.00)
JOHNSON
Jun 11 2002 .
06/10/2002 LT - ROCKLAND 45980292 9:46:26-310AM Unrealized $0.00
LETTER
JOHNSON
Jun 11 2002 .
06/10/2002 - ROCKLAND 45980295 9:46:44-670AM Unrealized $0.00
SUPPLEMENTAL DESIGNATION OF RECORD
JOHNSON
Jun 17 2002 .
06/14/2002 T&2 - ROCKLAND 46021507 9.96-39-343AM Unrealized $0.00

ORIGINAL TRANSCRIPT & 2 COPIES OF PROCEEDINGS ON MARCH 1, 2002

 

http://www.oscn.net/applications/oscn/GetCaseInformation.asp?number=cf-2001-4067&... 12/20/2004
G2acSHaseRepom24-JHP-PJC Document 6 Filed in USDC ND/CK on 12/22/04 PPage@Baf2

 

 

 

-_™
JOHNSON
Jun 17 2002 :
06/14/2002 NO - ROCKLAND 46022900 4.46-08-690am Unrealized $0.00
NOTICE OF FILING
Jun 28 2002
06/28/2002 ABST 1 - 46122515 un26 2002 $ 0.00
ABSTRACT SENT TO D.P.S.
Jun 28 2002
06/28/2002 ABST 2. 46122616 Jun 282002 $ 0.00
ABSTRACT SENT TO D.P.S.
07/26/2002 COPY! ROCKLAND 46313198 Ju! 26 2002 Unrealized $0.00
- DEJARIO 2:43:35:930PM nreailze

COPY OF INDEX OF APPEAL RECORD (3 EACH OF VOLS | AND II)

1) ORIGINAL TRANSCRIPT AND 1 COPY OF PRELIMINARY HEARING
OCTOBER 1, 2001
2) ORIGINAL TRANSCRIPT AND 2 COPIES OF PROCEEDINGS MARCH 14,

 

2002
JOHNSON
Aug 15 2002
08/14/2002 NOF - ROCKLAND 46447610 40:07-37-620AM Unrealized $0.00

NOTICE OF FILING TRANSCRIPTS ON APPEAL

 

JOHNSON,
08/14/2002 T&2 -  ROCKLAND 46447702 489152002 | Unrealized $ 0.00

DEJARIO
ORIGINAL TRANSCRIPT & 2 COPIES OF THE FOLLOWING FILED:

1) JURY TRIAL (VOL I) APRIL 1-5, 2002
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4) JURY TRIAL (VOL IV) APRIL 1-5, 2002
5) SENTENCING MAY 24, 2002

ORIGINAL AND 2 SETS OF STATE'S EXHIBITS 1-40 AND COURT'S 06.1-07.3
(6 EXHIBITS PICTURES)

 

JOHNSON, Aug 15 2002

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NOTICE OF COMPLETION OF RECORD ON APPEAL - COPIES TO: COURT
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08/21/2002 RQCCA - JOHNSON, 46508866 9U970 720 4, Unrealized $0.00

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REQUEST FROM COURT CRIMINAL APPEALS TO SEND APPEAL RECORD

 

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APPEAL RECORDS (2 EACH OF VOLS | AND II) AND ORIGINAL TRANSCRIPT
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4) SENTENCING MAY 24, 2002

ORIGINAL AND 1 SET OF STATE'S EXHIBITS 1-40 AND COURT'S 06.1-07.3 .
(PICTURES-6 EXHIBITS) IN SEALED, MANILA ENVELOPES

 

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FOLLOWING TRANSCRIPTS TRANSMITTED TO OIDS BY CERTIFIED MAIL:

1) PRELIMINARY HEARING OCTOBER 1, 2001
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4) SENTENCING MAY 24, 2002

COPIES OF STATE'S EXHIBITS 1-40 AND COURT'S 06.1-07.3 (6 EXHIBITS

 

 

 

 

PICTURES)
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08/23/2002 RETCM - ROCKLAND 46544445 3:18-08-210PM Unrealized $0.00
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COURT OF CRIMINAL APPEALS

 

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APPEAL RECORD (1 EACH OF VOLS | AND II) AND COPY OF THE
FOLLOWING RETURNED BY OIDS:

1) PRELIMINARY HEARING OCTOBER 1, 2001

2) PROCEEDINGS MARCH 1, 2002

3) JURY TRIAL (VOLS I-IV) APRIL 1-5, 2002

4) SENTENCING MAY 24, 2002

COPY OF STATE'S EXHIBITS 1-40 AND COURT'S EXHIBIT'S 06.1, 06.2, 06.3,
07.1, 07.2 AND 07.3

 

 

07/08/2003 TEXT ROCKLAND 48757464 Jul 9 2003 Unrealized $0.00
- DEJARIO 11:39:06:947AM 9 Vhreallze
PRO SE MOTION FOR SUSPENDED SENTENCE (COPY TO DA & JUDGE
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07/09/2003 ODNY ROCKLAND 48765725 Jul 10 2003 Unrealized $0.00
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ORDER DENYING DEFENDANT'S PRO SE MOTION FOR SUSPENDED
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07/30/2003 TEXT -  ROCKLAND 4ggo63g9 !302003, Unrealized $0.00

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ORIGINAL TRANSCRIPTS OF THE FOLLOWING RETURNED BY APPELLATE
COURT;
. PROCEEDINGS OCT. 1, 2001
. PROCEEDINGS MARCH 1, 2002
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. PROCEEDINGS APRIL 1-5, 2002 (VOL II)
. PROCEEDINGS APRIL 1-5, 2002 (VOL Ill)
. PROCEEDINGS APRIL 1-5, 2002 (VOL IV)
. PROCEEDINGS MAY 24, 2002
EXHIBITS;
1. STATE'S EXHIBITS 1-40
2. COURT'S EXHIBITS 06.1-06.3
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CRIMINAL APPEALS.

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Dec 17 2003
12/17/2003 CTRS - aggg269 Pee tT eM” $ 0.00
CLAIM FOR INTERCEPT OF TAX REFUND

 

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PRO-SE MOTION FOR FILES, RECORDS, TRANSCRIPTS AT PUBLIC
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APPLICATION FOR POST CONVICTION RELIEF - COPY TO DISTRICT
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THORNBRUGH, P. THOMAS: ORDER DENYING APPLICATION FOR POST-
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OF CRIMINAL APPEALS, DISTRICT ATTORNEY, ATTORNEY GENERAL AND

 

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Federal 10th Circuit Cases

 

Shaffer v. Boone
2001 10CIR 51
242 F.3d 390
Case Number: 00-5155
Decided: 01/10/2001
Modified: 01/31/2001
10th Cir.(Okla.)

 

Cite as: 2001 10CIR 51, 242 F.3d 390

 

This order and judgment is not binding precedent, except under the doctrines of law of the
case, res judicata, and collateral estoppel. The court generally disfavors the citation of orders
and judgments; nevertheless, an order and judgment may be cited under the terms and
conditions of 10th Cir. R. 36.3.

 

DOUGLAS C. SHAFFER, Petitioner-Appellant,
Vv.
BOBBY BOONE, Warden, Respondent-Appellee.

(D.C. No. 96-CV-1141-K)(N.D. Okla.)
ORDER AND JUDGMENT" EXHIBIT

13

Before BALDOCK, HENRY, and LUCERO, Circuit Judges.*
HENRY, Circuit Judge.

{11 Douglas Shaffer, a state prisoner proceeding pro se, seeks a certificate of appealability
("COA") after the district court dismissed his 28 U.S.C. § 2254 habeas petition. See 28 U.S.C.
§ 2253(c)(1)(A) (providing that a COA is a necessary predicate to any appeal from a final order
in a § 2254 proceeding). Because Mr. Shaffer has not "made a substantial showing of the
denial of a constitutional right,” id. § 2253(c)(2), this court denies his request for a COA and
dismisses this appeal.

{12 Mr. Shaffer was convicted of second-degree felony murder after prior conviction of two or
more felonies. He was sentenced to sixty years’ imprisonment. In his habeas petition, together
with his amended petitions, Mr. Shaffer raised eleven grounds of error: (1) ineffective
assistance of trial counsel; (2) violation of the Sixth Amendment's confrontation clause through
the admission of a nontestifying codefendant's confession; (3) reversible error resulting from

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the prosecutor's comments regarding Mr. Shaffer's Fifth Amendment right to remain silent; (4)
denial of due process through the prosecutor's improper closing argument; (5) ineffective
assistance of appellate counsel; (6) violation of the Fifth Amendment through the trial court's
instructions; (7) failure of the information to state all the essential elements of the underlying
crime; (8) erroneous sentence enhancement; (9) the state court's lack of subject matter
jurisdiction; (10) actual innocence of past convictions considered at sentencing; and (11)
violation of due process through extension of leniency to Mr. Shaffer's codefendant in
exchange for her testimony against him. The district court denied the first four claims on the
merits; dismissed claims five, six, eight, ten, and eleven as procedurally barred absent
prejudice or fundamental miscarriage of justice; and denied claims seven and nine as not
cognizable in federal habeas. This appeal followed.

{3 We construe Mr. Shaffer's allegations liberally, pursuant to Haines v. Kerner, 404 U.S. 519,
520-21 (1972). After a careful review of the record and the applicable case law, we conclude
that Mr. Shaffer fails to make a substantial showing of the denial of a constitutional right as
required under 28 U.S.C. § 2253(c)(2) for a COA. Specifically, Mr. Shaffer fails to demonstrate
"reasonable jurists would find the district court's assessment of the constitutional claims
debatable or wrong.” Slack v. McDaniel, 120 S. Ct. 1595, 1604 (2000). Because we agree with
the district court's well-reasoned assessment of the issues presented on appeal, we decline to
duplicate the same analysis here.

4 Accordingly, for substantially the same reasons set forth in the district court's June 21,
2000, Order, a copy of which is attached, we DENY Mr. Shaffer's motion for a COA and
DISMISS his appeal.

FOOTNOTES

. This order and judgment is not binding precedent, except under the doctrines of law of the
case, res judicata, and collateral estoppel. The court generally disfavors the citation of orders
and judgments; nevertheless, an order and judgment may be cited under the terms and
conditions of 10th Cir. R. 36.3.

2 After examining the briefs and appellate record, this panel has determined unanimously that
oral argument would not materially assist the determination of this appeal. See Fed. R. App. P.
34(a)(2); 10th Cir. R. 34.1(G). The case is therefore ordered submitted without oral argument.

[Attachment not available electronically. ]

 

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